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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 IMPLICIT, LLC,                                    §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                                   §
 NETSCOUT SYSTEMS, INC.,                           §
                                                   §
                Defendant.                         §

                                             ORDER

       Before the Court is Defendant NetScout Systems, Inc.’s (“NetScout”) Unopposed Motion

for Extension of Time to File Bill of Costs (the “Motion”). (Dkt. No. 241.) The deadline to submit

NetScout’s Bill of Costs is December 30, 2019. In the Motion, NetScout represents that “[t]he

parties have communicated with each other regarding certain disputes in the bill of costs, but given

the intervening holidays since service and receipt of the proposed Bill of Costs, the parties require

additional time to further meet, confer, and attempt to reach an appropriate agreement concerning

NetScout’s Bill of Costs, before finalizing the proposed submissions to the Court.” (Id. at 1.)

Accordingly, NetScout requests an extension up to and through January 6, 2020 to file the Bill of

Costs. (Id.) Plaintiff Implicit, LLC does not oppose the Motion. (Id.) Having considered the Motion

and its unopposed nature, the Court is of the opinion that the Motion should be and hereby is

GRANTED.

       Accordingly, it is ORDERED that NetScout’s deadline to file the Bill of Costs is extended

up to and through January 6, 2020.
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      So Ordered this
      Dec 31, 2019




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